            Case 3:14-cr-00175-WHA Document 1240 Filed 07/24/20 Page 1 of 4




 1   JENNER & BLOCK LLP
        Reid J. Schar (pro hac vice)
 2      RSchar@jenner.com
        353 N. Clark Street
 3
        Chicago, IL 60654-3456
 4   Telephone: +1 312 222 9350
     Facsimile: +1 312 527 0484
 5
     CLARENCE DYER & COHEN LLP
 6      Kate Dyer (Bar No. 171891)
        kdyer@clarencedyer.com
 7      899 Ellis Street
 8      San Francisco, CA 94109-7807
     Telephone: +1 415 749 1800
 9   Facsimile: +1 415 749 1694

10   CRAVATH, SWAINE & MOORE LLP
        Kevin J. Orsini (pro hac vice)
11      korsini@cravath.com
12      825 Eighth Avenue
        New York, NY 10019
13   Telephone: +1 212 474 1000
     Facsimile: +1 212 474 3700
14
     Attorneys for Defendant PACIFIC GAS AND ELECTRIC
15   COMPANY
16
                               UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18
19
     UNITED STATES OF AMERICA,                       Case No. 14-CR-00175-WHA
20
                                  Plaintiff,         REPORT ON PG&E’S CARIBOU-
21                                                   PALERMO 115 KV
22                                                   TRANSMISSION LINE
            v.
23                                                   Judge: Hon. William Alsup
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

26

27

28


                   REPORT ON PG&E’S CARIBOU-PALERMO 115 KV TRANSMISSION LINE
                                     Case No. 14-CR-00175-WHA
             Case 3:14-cr-00175-WHA Document 1240 Filed 07/24/20 Page 2 of 4




 1                   Pacific Gas and Electric Company (“PG&E”) submits the following report to

 2   update the Court on the condition of PG&E’s Caribou-Palermo 115 kV Transmission Line (the

 3   “Caribou-Palermo Line”).

 4                   As PG&E previously informed the Court, the Caribou-Palermo Line has been de-

 5   energized since shortly after the Camp Fire. (Dkt. 1090.) That de-energization is permanent.

 6   However, PG&E has identified a potential residual public safety risk associated with the

 7   Caribou-Palermo Line in its de-energized state and submits this report to the Court regarding that

 8   risk. As described below, PG&E has taken steps to mitigate this risk and is taking further steps

 9   to eliminate it. PG&E also has notified the Federal Monitor and Probation Officer, the

10   California Public Utilities Commission and the Butte County District Attorney of the facts and

11   mitigation efforts set forth in this report.

12                   PG&E has determined that energized lines that share towers with the Caribou-

13   Palermo Line or run adjacent to the Caribou-Palermo Line are inducing some level of voltage

14   and current on the Caribou-Palermo Line despite its de-energization. The process by which the

15   electromagnetic field surrounding an energized line can induce voltage and current in a nearby

16   de-energized line is known as “induction”. The Caribou-Palermo Line has the potential for

17   induction because, as PG&E explained in its August 16, 2019 submission to the Court, an

18   approximately 16-mile-long section of the Caribou-Palermo Line that runs south from the Big
19   Bend Switching Station to the Palermo Substation is supported by towers that also support other

20   transmission lines or lower-voltage distribution lines that remain energized. In addition, sections

21   of the Caribou-Palermo Line run parallel to other transmission lines in the same corridors.

22                   Based on the fact that the Caribou-Palermo Line was de-energized, PG&E

23   allowed work orders for various conditions on the line to remain open. The concern that PG&E

24   is now working to address is that there is still some voltage and current on the line because of

25   induction from nearby lines. PG&E is taking immediate steps to eliminate or minimize this risk.

26                   First, PG&E is working to physically isolate the Caribou-Palermo Line into 15

27   different sections and to install protective grounds on each isolated section. PG&E already has

28   isolated and grounded the sections of the line that present a higher risk of induction. PG&E

                                                   2
                    REPORT ON PG&E’S CARIBOU-PALERMO 115 KV TRANSMISSION LINE
                                      Case No. 14-CR-00175-WHA
             Case 3:14-cr-00175-WHA Document 1240 Filed 07/24/20 Page 3 of 4




 1   anticipates that it will complete the work to isolate and ground the remaining sections, most of

 2   which require helicopter support, by the end of next week. Isolation eliminates the risk that

 3   induction on any one section will result in electrical activity on downstream or upstream

 4   sections, and grounding each isolated section creates a path for any induced electrical current to

 5   go to ground. PG&E’s expectation is that once the sections of line are isolated and grounded, the

 6   level of electrical activity on each of the 15 sections will be zero or nearly zero. Field

 7   measurements taken by PG&E to date confirm that there is minimal electrical activity on those

 8   sections of the Caribou-Palermo Line that PG&E has isolated and grounded.

 9                  Second, in addition to isolating the line into sections and grounding each section,

10   PG&E is initiating expedited repairs of high-priority conditions on the Caribou-Palermo Line

11   that were previously not addressed following the permanent de-energization of the line. PG&E

12   also is reviewing any lower-priority work orders to determine whether they have become high-

13   priority conditions since the de-energization of the Caribou-Palermo Line in December 2018,

14   and will reprioritize such conditions for repair as necessary.

15                  In addition to these immediate steps, PG&E is preparing to remove the Caribou-

16   Palermo Line’s conductor. The removal of the conductor, which is estimated to take at least

17   several months, will permanently eliminate any risk of ignition from induction on the line.

18                  Going forward, PG&E will provide regular updates to the Federal Monitor
19   regarding these mitigation efforts, PG&E’s progress toward removing the conductor on the

20   Caribou-Palermo Line, why this risk was not addressed earlier when the line was taken out of

21   service or thereafter, and steps PG&E is taking to identify and address any potential ignition

22   risks arising from induction in high fire-threat areas across PG&E’s system.

23

24

25

26

27

28

                                                   3
                    REPORT ON PG&E’S CARIBOU-PALERMO 115 KV TRANSMISSION LINE
                                      Case No. 14-CR-00175-WHA
           Case 3:14-cr-00175-WHA Document 1240 Filed 07/24/20 Page 4 of 4




 1   Dated: July 24, 2020                            Respectfully Submitted,

 2                                                   JENNER & BLOCK LLP
 3

 4                                                 By:    /s/ Reid J. Schar
                                                         Reid J. Schar (pro hac vice)
 5
                                                     CRAVATH, SWAINE & MOORE LLP
 6

 7
                                                   By:    /s/ Kevin J. Orsini
 8                                                       Kevin J. Orsini (pro hac vice)

 9
                                                     CLARENCE DYER & COHEN LLP
10

11
                                                   By:    /s/ Kate Dyer
12                                                       Kate Dyer (Bar No. 171891)

13
                                                   Attorneys for Defendant PACIFIC GAS
14                                                 AND ELECTRIC COMPANY
15

16

17

18
19

20

21

22

23

24

25

26

27

28

                                                4
                 REPORT ON PG&E’S CARIBOU-PALERMO 115 KV TRANSMISSION LINE
                                   Case No. 14-CR-00175-WHA
